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States Courts

von pistrict of Texas
Debtor 4 Charles Ray Mosely "StL ED
First Name Middie Name Last Name ‘

Debtor 2 oo f

(Spouse, if filing) First Name Middle Name Last Name AM RK § 3 20%

United States Bankruptcy Court for the: Southern District of Texas [| ierk ot Court

mae er
Case number 29-31187 watnen Gehsner, C
(If known) W Check if this is an
amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. {f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

4. What is your current marital status?

C] Married
“i Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

W no

C) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 2:

O Same as Debtor 1

Dates Debtor 2
lived there

O Same as Debtor 1

From

Number Street

To

City

CJ same as Debtor 1

State ZIP Code
Q Same as Debtor 1

From

Debtor 4: Dates Debtor 4
lived there
From
Number Street
To
City State ZIP Code
From
Number Street
To

City State ZIP Code

Number Street

To

City

State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

UO No

C) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

EEE exiain the Sources of Your Income

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Debtor1 Charles Ray Mosely
Firet Name:

Middle Name Last Name

Case number Winown) 2079 | 187

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

W No

C) Yes. Fill in the details.
Debtor 7

Sources of income
Check all that apply.

QO Wages, commissions,
bonuses, tips

Q) Operating a business

From January 1 of current year until
the date you filed for bankruptcy:

O Wages, commissions,
bonuses, tips

(January 1 to December 31,_____——_)-~« 0) operating a business

For last calendar year:

Q) Wages, commissions,
bonuses, tips

(January 1 to December 31,____) (1) operating a business

For the calendar year before that:

Gross income

(before deductions and
exclusions)

$

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check ail that apply.

O) Wages, commissions,
bonuses, tips

O) Operating a business

O Wages, commissions,
bonuses, tips

O Operating a business

Q) Wages, commissions,
bonuses, tips

Q Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4,

Ww No
QO) Yes. Fill in the details.

Debtor 1

Sources of income
Describe below.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

Gross income from
each source

(before deductions and
exclusions)

Debtor 2

Sources of income
Describe below.

Gross income

(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions)

(January 1 to December 31,____—d):
YYYY

For the calendar year before that:

(January 1 to December 31, )
YYYY

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Debtor! Charles

Ray Mosely Case number (i known) 25-31 187

Firet Name

Middle Name

Last Name

re us Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225" or more?

&4 No. Go to line 7.

L} Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

() Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

L} No. Go to fine 7.

C) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Official Form 107

Dates of Total amount paid Amount you stili owe
payment

Creditor's Name

Number Street

City

State ZIP Code

Creditors Name

Number Street

City

State ZIP Code

Creditor's Name

Number Street

City

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Was this payment for...

) Mortgage

Q) car

Q credit card

L} Loan repayment

L) Suppliers or vendors

) Other

Q Mortgage

L) car

L) credit card

C) Loan repayment

Q Suppliers or vendors
L) other

Q Mortgage

C) Car

Q) Credit card

C) Loan repayment

L) Suppliers or vendors
C) other

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Debtor 1 Charles Ray Mosely Case number (# mown) 25-31187

Firet Name Middle Name Laat Name

f
7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

W No

CD Yes. List all payments to an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe

$ $
insider's Name
Number Street
City State ZIP Code

$ $
Insider's Name
Number Street
City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

WH No

C) Yes. List all payments that benefited an insider.

Dates of Total amount Amount you stil! Reason for this payment
payment paid owe ppaeacas

UUs creditor's name.

Insider's Name $ $

Number Street

City State ZIP Code

Insider's Name

Number Street

CI cinerea eres en ay SRO, ZIP Code.

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Debtor1 Charles Ray Mosely Case number (rim 20°31 187

First Name Middle Name Lest Name

identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

OQ) No
() Yes. Fill in the details.

Nature of the case Court or agency Status of the case

[PLAINTIFF'S ORIGINAL |
case tile CHARLES MOSELY vs. PETITION, APPLICATION -U-9- DISTRICT COURT

id Pending
FOR TEMPORARY ane Ei eres
RCF 2 ACQUISITION TRUST RESTRAINING ORDER, — 515 Rusk Street =
‘TEMPORARY Number Street OQ) Concluded
Case number 4:24-Cv-2236 INJUNCTION Houston TX 77002
City State ZIP Code

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cave tte CHARLES MOSELY vs, PLAINTIFF'S ORIGINAL  2)2t1 JUDICIAL DISTRICT CT.

‘ ad Pending
PETITION ponent: coer
NEWREZ MORTGAGE LLC _ 201 Caroline a
| Number Street O Concluded
i i
Case number 2021-03881 Houston TX 77002
| IGiy State ZIP Gode
L

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

Ww No. Go to line 11.
C) Yes. Fill in the information below.

Describe the property Date Value of the property

Creditors Name $

Number Street Explain what happened

CJ Property was repossessed.

1 Property was foreclosed.

) Property was garnished.

City State ZIP Code C) Property was attached, seized, or levied.

Describe the property Date Value of the property

Creditor's Name

Number = Street
Explain what happened

CQ) Property was repossessed.

O Property was foreclosed.

LJ Property was garnished.

(J Property was attached, seized, or levied.

City State ZIP Code

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Debtor 1 Charles Ray Mosely Case number (i known) 25-31187

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

W No

Q) Yes. Fill in the details.

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

O) No
O Yes

eee us Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
WY No

LJ Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per persan the gifts
_ $
Person to Whom You Gave the Gift
$

Number Street

City State ZIP Code

Person's relationship to you

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
Person to Whom You Gave the Gift ~<ee— $

$

Number Street

City State ZIP Code

Person's relationship to you

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Debtor 1 Charies Ray Mosely Case number (if known), 25-31187

First Name Middfa Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
No

CJ Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

Charity's Name

Number Street

City State ZIP Code

re Certain Losses

15, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No

CO) Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred oo . loss lost

include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

, 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Wi No
C) Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

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